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7    Counsel for Defendants
8
                             UNITED STATES DISTRICT COURT
9                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                       )
11   CENTER FOR FOOD SAFETY and CENTER )                  Case No.: 3:19-cv-05168-VC
     FOR ENVIRONMENTAL HEALTH,         )
12                                     )
                     Plaintiffs,       )
13                                     )                  NOTICE REGARDING FEDERAL
                         v.            )                  REGISTER PUBLICATION AND
14                                     )                  CONSENT DECREE TERMINATION
     XAVIER BECERRA, SECRETARY OF U.S. )
15   DEPARTMENT OF HEALTH AND HUMAN )
     SERVICES; JANET WOODCOCK, M.D.,   )
16   ACTING COMMISSIONER OF FOOD AND )
     DRUGS; and U.S. DEPARTMENT OF     )
17   HEALTH AND HUMAN SERVICES,1       )
                                       )
18                  Defendants.        )
19
            Defendants submit this notice to inform the Court that the final rule regarding the
20
     laboratory accreditation program was published in the Federal Register on December 3, 2021.
21
     See Laboratory Accreditation for Analyses of Foods, 86 Fed. Reg. 68,728-68,831 (Dec. 3, 2021)
22
     (to be codified at 21 C.F.R. pts. 1, 11, 16 and 129). The publication completes Defendants’
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26
            1  By operation of Fed. R. Civ. P. 25(d), Xavier Becerra is automatically substituted as a
     party in this action, in place of the former Secretary of the U.S. Department of Health and
27   Human Services, Alex M. Azar II, and Janet Woodcock, M.D. is automatically substituted as a
     party in this action, in place of the former Commissioner of Food and Drugs, Stephen M. Hahn,
28   M.D.

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1    obligations under Paragraph 4 of the Consent Decree and terminates the Consent Decree without

2    further judicial action under Paragraph 12. See Consent Decree, Dkt. 31 at 4, 6.

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5    Date: December 3, 2021                           BRIAN M. BOYNTON
                                                      Acting Assistant Attorney General
6
                                                      ARUN G. RAO
7                                                     Deputy Assistant Attorney General
8                                                     GUSTAV W. EYLER
                                                      Director
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                                                      HILARY K. PERKINS
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                                                          /s/ Sarah Williams
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     WENDY VICENTE
24   Acting Deputy Chief Counsel for Litigation
25

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     NOTICE REGARDING P UBLICATION/ CONSENT DECREE TERM INATION                                    2
              Case 3:19-cv-05168-VC Document 35 Filed 12/03/21 Page 3 of 3



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     NOTICE REGARDING P UBLICATION/ CONSENT DECREE TERM INATION              3
